                        UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA

 SONY MUSIC ENTERTAINMENT, et al.,

                       Plaintiffs,
                                                 Case No. 1:18-cv-00950-LO-JFA
               v.

 COX COMMUNICATIONS, INC., et al.,

                       Defendants.

                                     NOTICE OF SUBMISSION

       Defendants (“Cox”), through counsel, hereby resubmit for public filing the attached

Exhibit B to the Declaration of Jennifer A. Golinveaux (ECF No. 34-3), filed with this Court on

October 15, 2018.



Dated: October 19, 2018

                                                    Respectfully submitted,

                                                    /s/ Thomas M. Buchanan
                                                    Thomas M. Buchanan (VSB No. 21530)
                                                    WINSTON & STRAWN LLP
                                                    1700 K Street, NW
                                                    Washington, DC 20006-3817
                                                    Tel: (202) 282-5787
                                                    Fax: (202) 282-5100
                                                    Email: tbuchana@winston.com

                                                    Attorney for Cox Communications, Inc.
                                                    and CoxCom, LLC
Of Counsel for Defendants

Michael S. Elkin (pro hac vice)
Thomas Patrick Lane (pro hac vice)
WINSTON & STRAWN LLP
200 Park Avenue
New York, NY 10166-4193
Telephone: (212) 294-6700
Facsimile: (212) 294-4700
Email: melkin@winston.com
Email: tlane@winston.com

Jennifer A. Golinveaux (pro hac vice)
WINSTON & STRAWN LLP
101 California Street, 35th Floor
San Francisco, CA 94111-5840
Telephone: (415) 591-1000
Facsimile: (415) 591-1400
Email: jgolinveaux@winston.com

Diana Hughes Leiden (pro hac vice)
WINSTON & STRAWN LLP
333 S. Grand Avenue, Suite 3800
Los Angeles, CA 90071
Telephone: (213) 615-1700
Facsimile: (213) 615-1750
Email: dhleiden@winston.com




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                                CERTIFICATE OF SERVICE

I hereby certify that on October 19, 2018, the foregoing was filed and served electronically by
the Court’s CM/ECF system upon all registered users:


                                                     /s/ Thomas M. Buchanan
                                                     Thomas M. Buchanan (VSB No. 21530)
                                                     1700 K Street, NW
                                                     Washington, DC 20006-3817
                                                     Tel: (202) 282-5787
                                                     Fax: (202) 282-5100
                                                     Email: tbuchana@winston.com

                                                     Attorney for Cox Communications, Inc.
                                                     and CoxCom, LLC
